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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re
                                                                     Chapter 7
    J & M Sales, Inc.,   et al., 1
                                                      Debtors.       Case No. 18-11801 (JTD)

                                                                     (Jointly Administered)
    George L. Miller, not individually, but as Chapter 7
    Trustee of J & M Sales, Inc., et al.,                            Adv. Proc. No. 20-50805 (JTD)

                                                      Plaintiff,
            v.

    Mulitex Ltd.
                                                   Defendant.

                                           NOTICE OF SERVICE

            Please take notice that on December 28, 2021, a copy of Second Set of Interrogato ries,

Requests for Production, and Requests for Admission Propounded by Plaintiff, were caused to be

served on counsel for defendant Mulitex Ltd. via electronic mail and U.S. First Class Mail upon:

Steven Balasiano, Esq.                                         Michael J. Joyce, Esq.
Judah Balasiano, Esq.                                          The Law Offices of Joyce, LLC
Balasiano & Associates, PLLC                                   7209 Lancaster Pike Suite 4-318
6701 Bay Parkway, 3rd Floor                                    Hockessin, DE 19707
Brooklyn, NY 11204                                             mjoyce@mjlawoffices.com
steven@balasianolaw.com
judah@balasianolaw.com

                                     [Signature block on following page.]




1
 Debtors in these Chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification number,
are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc. (6795);
Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); C arib bean I sland St o res, LLC
(9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924).


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Date: December 28, 2021             BENESCH, FRIEDLANDER, COPLAN
     Wilmington, Delaware                & ARONOFF LLP

                                     /s/ John C. Gentile
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                                    Counsel for George L. Miller, not individually, but
                                    as Chapter 7 Trustee of J & M Sales, Inc., et al.




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